The defendants to this bill to foreclose a land contract are the vendee and its assignees. Plaintiffs had decree. Defendants, assignees, have appealed.
The right of a vendor, in foreclosure of a land contract in equity, to have decree for deficiency against vendee's assignees, who, in writing, have assumed the contract, is discussed and settled in Barnard v. Huff, 252 Mich. 258
(77 A.L.R. 259); Peoples Savings Bank v. Geistert, 253 Mich. 694;Hamburger v. Russell, 255 Mich. 696.
The defendants, assignees of vendee, asserted, by answer alone, fraud in the assignment to them. No rescission of such assignment had been effected. Such assignees here filed no cross-bill, sought no affirmative relief. Hence, no consideration can be given to their allegations of fraud.
Other points are attempted, but they call for no discussion.
Affirmed, with costs.
McDONALD, POTTER, SHARPE, NORTH, FEAD, WIEST, and BUTZEL, JJ., concurred. *Page 122 